                      Case
                       Case1:18-cv-00295-LY
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District of Texas


    Community Financial Services Association of                 )
   America, Ltd. and Consumer Service Alliance of               )
                      Texas,                                    )
                                                                )
                - - - Plaintijf(s)                              )
                                                                )
                                V.                                      Civil Action No. 1:18-cv-00295-LY
                                                                )
  Consumer Financial Protection Bureau and John                 )
  Michael Mulvaney, in his official capacity as Acting          )
  Director, Consumer Financial Protection Bureau,               )
                                                                )
                          Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) JOHN MICHAEL MULVANEY, in his official capacity as Acting Director, Consumer
                                   Financial Protection Bureau

                                       1700 G St NW
                                       Washington, DC 20552



         A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                  Laura Jane Durfee
                                  Jones Day
                                  2727 North Hardwood Street
                                  Suite 600
                                  Dallas, TX 75201

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          JEANNEITE. J. CLACK
                                                                          CLERK OF COURT

         April 10, 2018
Date:
                                                                                    Signature of Clerk or Deputy Clerk
                   Case 1:18-cv-00295-LY Document 13 Filed 04/17/18 Page 2 of 2
               UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF TEXAS


Community Financial Services Association of America, Ltd., et al.


                                           Plaintiff

                                                                    vs.            CaseNo: 1:18-cv-00295-LY

Consumer Financial Protection Bureau, et al.


                                           Defendant
                                                AFFIDAVIT OF SERVICE

I, David S. Felter, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons; Complaint; Civil Cover Sheet; Federal Rule of Civil Procedure
5.1 Notice ofa Constitutional Challenge; Plaintiffs' Corporate Disclosure Statements; Motion for Admission Pro Hae Vice
Regarding Michael A. Carvin with Attachment 1 and Proposed Order; and Motion for Admission Pro Hae Vice Regarding
Christian G. Vergonis with Attachment 1 and Proposed Order in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 04/ 11 /2018 at 3:50 PM, I served John Michael Mulvaney, in his official capacity as Acting Director, Consumer Financial
Protection Bureau with the Summons; Complaint; Civil Cover Sheet; Federal Rule of Civil Procedure 5.1 Notice of a
Constitutional Challenge; Plaintiffs' Corporate Disclosure Statements; Motion for Admission Pro Hae Vice Regarding Michael A.
Carvin with Attachment 1 and Proposed Order; and Motion for Admission Pro Hae Vice Regarding Christian G. Vergonis with
Attachment 1 and Proposed Order at 1990 K Street, NW, Washington, DC 20006 by serving Stephen Bressler, Associate General
Counsel, authorized to accept service.

Stephen Bressler is described herein as:

Gender: Male     Race/Skin: White     Age: 50 Weight: 190       Height: 5'11"   Hair: Brown    Glasses: Yes




I declare under penalty of perjury that this information is true.




 Executed On                                                                                    . Felter



                                                                                                              Client Ref Number:301600-605001
                                                                                                                           Job #: 1543400
               Capitol Process Services, Inc. I 1827 18th Street, NW, Washington, DC 20009 I (202) 667-0050
